
Daniels, J.
The defendant failed to appear and answer as he was required to do by an order made in supplementary proceedings, and that failure was repeated on a second occasion. It was for that he was required to show cause why he should not be punished for his contempt. And as he was shown by the affidavits to be clearly in contempt, he was legally liable to punishment for that cause. But while the order recited that his misconduct did actually defeat, impair, impede or prejudice the rights of the above named plaintiff, as it was required it should do, by section 2281 of the Code of Civil Procedure, it did not follow from that circumstance alone that he was hable to be fined, as he was, the amount of the judgment which had been recovered against him. For the degree of punishment to be inflicted has been limited, by section 2284 of the Code, to a fine sufficient to indemnify the aggrieved party for any actual loss or injury produced by the misconduct. And as it was not proved by the affidavits that the plaintiff had sustained actual loss or injury, or had been deprived by the misconduct of the amount of his judgment, there was no foundation for imposing this large fine upon him. To sustain the imposition of a fine for loss or injury the fact of the existence of the loss must first be proved by legal evidence. Without such proof no authority exists for fining the delinquent party to compensate such loss. DeJonge v. Brenneman (23 Hun, 332). And the fine in this case was imposed, not by way of punishment, but wholly by way of indemnity, and for that it is devoid of all legal foundation.
The court had the further power in addition to that authorizing a fine for indemnity, to impose a fine upon the defendant by way of punishment not exceeding the sum of $250 in addition to the costs and expenses.
But that power was not exercised in this case. No fine was imposed upon him by way of punishment for his misconduct, but it was wholly for the purpose of indemnity and the court accordingly cannot reduce the fine in this instance to the amount, or any portion of the amount, which, under this part of the same section, might have been prescribed by way of punishment for the defendant’s misconduct.
A reduction in the fine in a proper case may undoubtedly be made, as was done in Erie Railway Company v. Ramsay *659(45 N. Y., 637, 655), and DeJonge v. Brenneman (supra). But there the fines which were imposed were in part supported by the facts, while here the fine is wholly unsupported by the facts made to appear upon the hearing. For it was entirely devoted to the object of indemnifying the plaintiff against loss or injury, when no loss, or injury whatever was made to appear. What the court should have done in this condition of the evidence was to have fined the defendant by way of punishment in the sum not exceeding the amount of $250, in addition to the plaintiff’s costs and expenses, and then direct his imprisonment, as that has been prescribed by section 2285 of the Code, until he should appear and submit to an examination concerning his property, and pay the fine with the costs imposed upon him. That authority was not exercised in any form, and accordingly the case presents no ground for modification, but it is one wholly for reversal.
The order which was made should be reversed, with the' usual costs and disbursements, and the case should be remitted to the special term for a further hearing, there to be proceeded with in conformity with this opinion.
Davis and Brady, JJ., concur.
